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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

03-md-1570 (GBD)(SN)

In re Terrorist Attacks on September 11, 2001
ECF Case

Thi :
is document relates to 15-cv-9903 (GBD)(SN)

Thomas Burnett, Sr., et al. v. The Islamic ECF Case

Republic of Iran, et al.

ORDER OF PARTIAL FINAL DEFAULT JUDGMENTS ON BEHALF OF
BURNETTARAN PLAINTIFFS IDENTIFIED AT EXHIBITS A AND B

(BURNETT / IRAN XXVID)

Upon consideration of the evidence and arguments submitted by Plaintiffs identified in
Exhibits A and B to this Order, plaintiffs in Burnett, et al. v. Islamic Rep. of Iran, et al., Case No.
15-cv-9903 (GBD)(SN), who are each a spouse, parent, child, or sibling (or the estate of a spouse,
parent, child, or sibling) of a victim killed in the terrorist attacks on September 11, 2001 (as
identified on Exhibit A), or the estate of an individual who was killed in the terrorist attacks on
September 11, 2001 (as identified on Exhibit B), and the Judgment by Default for liability only
against the Islamic Republic of Iran, the Islamic Revolutionary Guard Corps, and the Central Bank
of the Islamic Republic of Iran (collectively, the “Iran Defendants”) entered on January 31, 2017
(15-cv-9903, ECF No.85), together with the entire record in this case, it is hereby;

ORDERED that service of process was effected upon the Iran Defendants in accordance
with 28 U.S.C. § 1608(a) for sovereign defendants and 28 U.S.C. § 1608(6) for agencies and
instrumentalities of sovereign defendants;

ORDERED that partial final judgment is entered against the Iran Defendants and on behalf
of the Plaintiffs in Burnett, et al. v. Islamic Rep. of Iran, et al., Case No. 15-cv-9903 (GBD)(SN),

as identified in the attached Exhibit A, who are each a spouse, parent, child, or sibling (or the estate

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of a spouse, parent, child, or sibling) of individuals killed in the terrorist attacks on September 11,
2001, as indicated in Exhibit A, and it is

ORDERED that Plaintiffs identified in Exhibit A are awarded: solatium damages of
$12,500,000 per spouse, $8,500,000 per parent, $8,500,000 per child, and $4,250,000 per sibling,
as set forth in Exhibit A; and it is

ORDERED that partial final judgment is entered against the Iran Defendants and on behalf
of the Plaintiffs in Burnett, et al. v. Islamic Rep. of Iran, et al., Case No. 15-cv-9903 (GBD)(SN),
as identified in the attached Exhibit B, who are each the estate of a victim of the terrorist attacks
on September 11, 2001, as indicated in Exhibit B, and it is

ORDERED that Plaintiffs identified in Exhibit B are awarded: compensatory damages for
decedents’ pain and suffering in an amount of $2,000,000 per estate, as set forth in Exhibit B (to
the extent not previously so awarded); and it is

ORDERED that Plaintiffs identified in Exhibits A and B are awarded prejudgment interest
of 4.96 percent per annum, compounded annually, running from September 11, 2001 until the date
of judgment; and it is

ORDERED that Plaintiffs identified in Exhibits A and B may submit an application for
punitive damages, economic damages, or other damages (to the extent such awards have not
previously been ordered) at a later date consistent with any future rulings made by this Court on
this issue, and it is

ORDERED that the remaining Burnett/fran Plaintiffs not appearing on Exhibits A or B,
may submit in later stages applications for damages awards, and to the extent they are for solatium

or by estates for compensatory damages’ for decedents’ pain and suffering from the September | 1

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attacks, they will be approved consistent with those approved herein for the Plaintiffs appearing
on Exhibits A and B.

Furthermore, the Court respectfully directs the Clerk of the Court to terminate the motion
at ECF No. 8221 in 03-MDL-1570 (GBD)(SN) and ECF No. 610 in 15-cv-9903 (GBD\SN).

Dated: New York, New York SO ORDERED:

AUC 0 2 02, Qs
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RGE BT DANIELS
ed States District Judge

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EXIHBIT B
ECF NO. ECF NO. - PERSONAL
DECEDENT ee OF ANY REPRESENTATIVE
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O/T o/1I 9/11 DECEDENT'S x DECEDENT PAIN AND DECEDENT JUDGMENT PRIOR (PARAGRAPH IN
DECEDENT'S| DECEDENT'S LAST NAME x PAIN AND SUFFERING ECONOMIC AMOUNT FoR | DAMAGES} AMENDED COMPLAINT-—
FIRST NAME | MIDDLE NAME ; z SUFFERING PREVIOUSLY LOSS EST ATE AWARDS OR OTHER NOTED

FILED IN PLEADING-WHERE
MDL1I570 CLAIMS APPEAR)
Edward James Day $  2,000,000.00 $____2,000,000.00 nla ECF#53, 911153, Brigitte Day
TOTAL: | $ 2,000,000.00

